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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.         CV 18-02217 SJO (FFMx)                                                 Date   April 20, 2018
 Title            Stephanie Clifford v. Donald J. Trump et al




 Present: The                   JAMES OTERO, Judge presiding
 Honorable
                Victor Cruz                                     Not Present
                Deputy Clerk                                Court Reporter                             Tape No.
            Attorneys Present for Plaintiffs:                           Attorneys Present for Defendants:
                    Michael J. Avenatti                                            Charles J. Harder
                     Ahmed Ibrahim                                                 Ryan J. Stonerock
                                                                                   Steven Frackman
                                                                                   Brent H. Blakely
 Proceedings:                 Joint EX PARTE APPLICATION to Stay Case filed by Defendants
                              Michael Cohen, Essential Consultants, LLC. [ECF No. 38]

Hearing held.

The Court reviews the procedural history.

Counsel present argument.

The Court Orders that counsel for Defendant Cohen shall file a declaration from Mr. Cohen stating
whether he intends to assert his Fifth Amendment rights and when he realized that his Fifth
Amendment rights would be implicated. This declaration shall be filed by Wednesday, April 25,
2018; Plaintiff shall file a response by Thursday, April 26, 2018.

The Court is going to look at whether there's less drastic means or measures that could be imposed
here other than a stay.

Additionally, the Court is also going to consider whether the second count can be severed from the
first amended complaint and whether the Court can go forward on that matter alone.

The matter stands submitted.



                                                                                                         :       1/19
                                                                  Initials of Preparer                 vpc




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